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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10                              SOUTHERN DIVISION
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     INLAND EMPIRE WATERKEEPER et               Case No. 8:18-cv-00333-DOC-DFM
14
     al.,
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          Plaintiffs,
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17
          v.                                    FINAL JUDGMENT
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19   CORONA CLAY COMPANY,

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          Defendant.

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1           In their First Amended Complaint, Plaintiffs Inland Empire Waterkeeper and Orange
2    County Coastkeeper (“Plaintiffs”) brought seven causes of action against Defendant Corona
3    Clay Company (“Defendant”), for violations of the 2015 General Industrial Storm Water Permit
4    (the “Permit”).
5           On June 10, 2019, the Court entered an order granting partial summary judgment on
6    Plaintiffs’ First and Fifth Causes of Action.
7           By stipulation of the parties, Plaintiffs’ Third and Fourth Causes of Action were
8    dismissed with prejudice before trial.
9           The remaining claims—Plaintiffs’ Second, Sixth, and Seventh Causes of Action—were
10   tried before a jury from October 21 through October 25, 2019. On October 25, 2019, the jury
11   rendered a verdict in favor of Defendant on the Second, Sixth, and Seventh Causes of Action.
12          IT IS THEREFORE ORDERED that judgment is entered in Plaintiffs’ favor on the
13   First and Fifth Causes of Action. Accordingly, the Court orders that:
14          (1) Defendant is liable for 664 daily violations (September 4, 2017 through June 30,
15             2019) of the Storm Water Pollution Prevention Plan, that is, section X.C.1,
16             subsections b and c, of the Permit;
17          (2) Defendant is liable for 1688 daily violations (March 2, 2015 through October 15,
18             2019) of the Permit’s Section V limitations on technology-based effluents;
19          (3) Defendant shall implement structural storm water Best Management Practices
20             sufficient to retain the 85th percentile, 24-hour storm event, including a factor of
21             safety, from areas subject to the Storm Water Permit no later than December 1, 2020.
22             All retention basins should be designed and certified by a California licensed
23             professional engineer, and comply with the requirements of section X.H.6 of the
24             Permit;
25          (4) Defendant shall update and amend its Storm Water Pollution Prevention Plan to
26             comply with section X.C.1, subsections b and c, of the Permit, no later than July 1,
27             2020; and
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1           (5) Defendant shall pay civil penalties for violations of the Clean Water Act in the sum of
2              $3,700,000 by July 1, 2020.
3           IT IS FURTHER ORDERED that Plaintiffs’ Third and Fourth Causes of Action are
4    dismissed with prejudice.
5           IT IS FURTHER ORDERED that judgment is entered in favor of Defendant on the
6    Second, Sixth, and Seventh Causes of Action.
7           IT IS FURTHER ORDERED that Plaintiffs are the prevailing party as to the First and
8    Fifth Causes of Action, and that Defendant is the prevailing party as to the Second, Sixth, and
9    Seventh Causes of Action. As each party has prevailed on some claims and not others, the
10   parties shall bear their own fees and costs in this matter.
11

12          IT IS SO ORDERED AND ENTERED. JUDGMENT IS DEEMED ENTERED AS
13   OF THE DATE BELOW.
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15          DATED: April 6, 2020
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                                                                  DAVID O. CARTER
                                                            UNITED STATES DISTRICT JUDGE
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